                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 1 of 15 Page ID #:7396




                                      1   Eric B. Hull (# 291167)
                                          ebh@kfcfirm.com
                                      2
                                          KERCSMAR FELTUS & COLLINS PLLC
                                      3   8200 Wilshire Boulevard, Suite 222
                                          Beverly Hills, California 90211
                                      4
                                          Telephone: (310) 928-7885
                                      5   Facsimile: (480) 421-1002
                                      6   Sean J. O’Hara (Admitted Pro Hac Vice)
                                          sjo@kfcfirm.com
                                      7   KERCSMAR FELTUS & COLLINS PLLC
                                      8   7150 East Camelback Road, Suite 285
                                          Scottsdale, Arizona 85251
                                      9
                                          Telephone: (480) 421-1001
                                     10   Facsimile: (480) 421-1002
                                     11
                                          Attorneys for KandyPens Inc.
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC




                                     12
  Beverly Hills, California 90401




                                                            IN THE UNITED STATES DISTRICT COURT
                                     13
         (310) 928-7885




                                     14
                                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                     15   Kandypens, Inc., a Delaware corporation,      Case No. 2:20-cv-00358-GW-KS
                                     16
                                                                Plaintiff,              KANDYPENS, INC.’S REPLY IN
                                     17                                                 SUPPORT OF ITS MOTION TO
                                             v.
                                     18                                                 EXCLUDE CERTAIN OPINIONS
                                          Puff Corp., a Delaware corporation,           AND TESTIMONY FROM EXPERT
                                     19                                                 RICHARD MEYST AND
                                     20                        Defendant.               MEMORANDUM IN SUPPORT
                                     21
                                     22                                                 District Judge: George H. Wu
                                          Puff Corp., a Delaware corporation,           Date: October 7, 2021
                                     23
                                                                                        Time: 8:30 a.m.
                                                               Counterclaimant,
                                     24                                                 Place: Courtroom 9D, Ninth Floor
                                             v.                                         350 West 1st Street
                                     25
                                                                                        Los Angeles, CA 90012
                                     26   Kandypens, Inc., a Delaware corporation,      Action Filed: January 13, 2020
                                     27
                                                                                        Trial Date: December 14, 2021
                                                               Counterdefendant.
                                     28
                                                  KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 2 of 15 Page ID #:7397


                                                                                  TABLE OF CONTENTS
                                      1
                                                                                                                                                 Page
                                      2
                                      3   I. INTRODUCTION ......................................................................................... 2
                                      4   II. ARGUMENT ............................................................................................... 2
                                      5       A. Meyst’s Opinions Are Conclusory ......................................................... 2
                                      6
                                              B. Meyst’s Opinion Regarding “Second Container Outlets” Ignores the
                                      7          Court’s Construction and Lacks a Sufficient Factual Foundation ......... 6
                                      8       C. Meyst Improperly Compares the Oura to the Peak and the
                                      9          Specification Rather than the Claims ..................................................... 9
                                     10       D. Meyst Invades the Province of the Jury ................................................. 9
                                     11       E. Meyst’s Opinions Regarding a POSITA Are Unreliable ..................... 10
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC




                                     12
  Beverly Hills, California 90401




                                          III. CONCLUSION......................................................................................... 12
                                     13
         (310) 928-7885




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                   KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 3 of 15 Page ID #:7398


                                                                            TABLE OF AUTHORITIES
                                      1
                                      2   Cases                                                                                         Page(s)
                                      3
                                          EcoServices, LLC v. Certified Aviation Servs., LLC,
                                      4     312 F. Supp. 3d 830 (C.D. Cal. 2018) .............................................................9
                                      5   Junker v. Med. Components, Inc.,
                                           2019 WL 109385 (E.D. Pa. Jan. 4, 2019) .....................................................5, 6
                                      6   Sundance, Inc. v. DeMonte Fabricating Ltd.,
                                      7     550 F.3d 1356 (Fed. Cir. 2008)......................................................................10

                                      8
                                      9
                                     10
                                     11
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC




                                     12
  Beverly Hills, California 90401




                                     13
         (310) 928-7885




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                  KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 4 of 15 Page ID #:7399



                                      1         I.         INTRODUCTION
                                      2               In    the   Motion,   Plaintiff   and    Counterdefendant      KandyPens,       Inc.
                                      3   (“KandyPens”) made the case that Richard Meyst issued opinions that are
                                      4   conclusory and untethered from the facts and this Court’s claim construction. In
                                      5   addition, in several areas Meyst opined on the facts themselves rather than offering
                                      6   opinions based on them. KandyPens established that Meyst’s opinions are
                                      7   unreliable and should be excluded from the case. Puffco responds largely with
                                      8   explanations that Meyst is smart and his Report is lengthy. That explanation does
                                      9   not remedy the unreliability identified in the Motion.
                                     10              These issues are most striking in evaluating Meyst’s opinion regarding the
                                     11   alleged “second container outlets.” When challenged on his opinion at his
                                     12   deposition, Meyst simply declared, “I see what he says. I think it’s clear in my
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13   report that I say that the Kandypens product does have second container outlets.”
         (310) 928-7885




                                     14   (Dkt. #124-2, Ex. B, R. Meyst Dep. (7/20/21) at 75:8-15.) When asked why he
                                     15   reached that conclusion, he curtly answered: “Because it does.” (Id.) This kind of
                                     16   conclusory declaration—literally based on the ipse dixit of the expert—has no place
                                     17   in front of a jury.
                                     18              Meyst and Puffco claim “there is nothing wrong with” conducting an
                                     19   analysis proscribed by law or engaging in his own effort to redo the Court’s claim
                                     20   constructions. But at least since Daubert, Meyst and Puffco are mistaken. Meyst’s
                                     21   opinions on the subjects outlined in the Motion are unreliable and should be
                                     22   excluded from the case.
                                     23   II.        ARGUMENT
                                     24              A.      Meyst’s Opinions Are Conclusory.
                                     25              Puffco accuses KandyPens of ignoring Meyst’s Report, highlighting the “167
                                     26   separate paragraphs of analysis and opinions regarding the accused Oura device, the
                                     27   subject patent, and infringement, among other things.” (Dkt. #135, Puff Corp.’s
                                     28
                                                                                        2
                                                     KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 5 of 15 Page ID #:7400



                                      1   Opp’n to KandyPens, Inc.’s Mot. to Exclude Meyst (“Puffco’s Opp’n”) at 6:5-8.)
                                      2   Puffco’s focus on length rather than substance is telling. While the Meyst Report
                                      3   includes 167 paragraphs, it certainly does not contain that many “paragraphs of
                                      4   analysis and opinions.” Of that 167 paragraphs, three are introductory, nine relate to
                                      5   Meyst’s background and compensation, fourteen relate to his understanding of the
                                      6   relevant law, five explain the factual sources he considered, ten simply describe the
                                      7   ‘334 Patent (while making surface-level comparisons of the Oura and Peak), two
                                      8   describe the Court’s constructions, and four are merely conclusions of what he has
                                      9   done (a total of 43 paragraphs).
                                     10         Meyst further writes:
                                     11            Based on Kandypens’ non-infringement contentions and the
                                     12            testimony of its corporate representative, I understand that
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                                   Kandypens admits that its Oura product meets most of the claim
                                     13            limitations of claim 1 and only challenges whether the Oura has
         (310) 928-7885




                                     14            the required “second container outlets.” . . . My analysis below
                                                   therefore focuses on this limitation but for completeness I offer
                                     15            my opinion on all claim limitations in the Asserted Claims.
                                     16   (Dkt. #124-2, Ex. A, Meyst Report ¶ 55.) These superfluous paragraphs included in
                                     17   the name of “completeness” account for another 74 paragraphs. Apparently keen on
                                     18   covering all possible bases, Meyst also addresses an argument regarding “gas flow”
                                     19   that accounts for 21 paragraphs. So in total, 138 of the 167 paragraphs of the Meyst
                                     20   Report are not valuable to this Court or the jury at all.
                                     21         Meyst’s actual infringement analysis begins with the following illuminating
                                     22   paragraphs:
                                     23
                                                   44. I understand that Puffco introduced its Peak vaporizer product
                                     24            to the marketplace in 2019.
                                     25            45. I understand that Kandypens sent one of the newly introduced
                                     26            Peak vaporizer products to its manufacturer in China to copy,
                                                   design, develop and manufacture the Oura device.
                                     27
                                     28
                                                                                  3
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 6 of 15 Page ID #:7401



                                      1            46. Puffco has accused the Kandypens’ Oura vaporizer of
                                                   infringing the ‘344 Patent.
                                      2
                                          (Dkt. #124-2, Ex. A, Meyst Report ¶¶ 44-46.) Then, before addressing any claims
                                      3
                                          under the ‘344 Patent, Meyst spends six paragraphs opining that the Oura copied
                                      4
                                          the Peak (which, as discussed below, is a question for the jury).
                                      5
                                                Meyst then baldly declares “It is my opinion that the Kandypens’ Oura
                                      6
                                          product meets all of the elements of, and, therefore, infringes at least claims 1-11
                                      7
                                          and 13 of the ’344 patent.” (Id., ¶ 53.) After stating this conclusion, he backfills:
                                      8
                                          “My opinion is based on my review of the ’344 patent, its file history, the Court’s
                                      9
                                          Markman Order, my inspection and operation of the Oura device, a transcript of the
                                     10
                                          deposition of Kandypens’ corporate representative, Mr. Graham Gibson, and the
                                     11
                                          filings and discovery produced in this case.” (Id., ¶ 54.)
                                     12
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                                It is hard to see this statement as anything but conclusory given what
                                     13
                                          preceded it. Thirty paragraphs later, Meyst addresses the alleged “second container
         (310) 928-7885




                                     14
                                          outlets.” Even though he quotes the Court’s construction (Id., ¶ 86), he does not
                                     15
                                          address that construction at all in his analysis. Instead, he cites various aspects of
                                     16
                                          the Oura’s configuration before baldly declaring, “The second container outlets of
                                     17
                                          the Oura are designed exactly as described in one embodiment of the ‘334 Patent . .
                                     18
                                          . .” (Id., ¶ 89.) But he notably skips whether those alleged “outlets” meet the
                                     19
                                          Court’s construction of the term “second container outlets”—a shortcoming
                                     20
                                          addressed in the next section.
                                     21
                                                Puffco cites the length of the Meyst Report in an attempt to draw the Court’s
                                     22
                                          attention away Meyst’s deposition. But even if the Meyst Report were not
                                     23
                                          conclusory—and it is—Meyst’s deposition cannot be ignored. The reason is simple:
                                     24
                                          At his deposition, Meyst admitted that he wrote the Meyst Report with counsel. He
                                     25
                                          testified: “So after digesting the information that was provided, I generated a draft
                                     26
                                          of my report, shared that with counsel, and then they took the draft and added to
                                     27
                                          it. We went back and forth and I participated in generating subsequent drafts and
                                     28
                                                                                  4
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 7 of 15 Page ID #:7402



                                      1   finalized it and this is the report.” (Dkt. #128-8, Ex. F, Meyst Dep. (7/20/21) at
                                      2   29:25-30:16 (emphasis added).)
                                      3         And that deposition provided ample examples of bald conclusions from
                                      4   Meyst. When asked to differentiate his opinion on “second container outlets” from
                                      5   Dr. Colwell’s opinion, he testified, “I see what he says. I think it’s clear in my
                                      6   report that I say that the Kandypens product does have second container outlets.”
                                      7   (Dkt. #124-2, Ex. B, Meyst Dep. (7/20/21) at 75:8-20.) When asked why he
                                      8   reached that conclusion, he curtly answered: “Because it does.” (Id.) Later, when
                                      9   further pressed, he declared, “Well, this is my opinion. . . . And I believe this is a
                                     10   fact of how the thing operates.” (Id. at 81:1-19.) In other words, he issued bald
                                     11   conclusions.
                                     12         On his Person of Ordinary Skill in the Art (“POSITA”) opinion, he simply
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13   stated:
         (310) 928-7885




                                     14             Well, I looked at the -- the general technology. I looked at the
                                     15             patents. I looked at the products and this is based on my general
                                                    feeling that this is not someone who is a super expert. A person of
                                     16             skill in the art, ordinary skill in the art is someone who might
                                     17             work in industry on this kind of a product.

                                     18   (Id. at 34:5-13.)
                                     19         Puffco also takes umbrage with KandyPens’ argument that Meyst conducted
                                     20   no experiments. But the “experiment” Puffco cites is nothing more than Meyst
                                     21   turning on the machines and making sure they operate: “Well, like I said, I followed
                                     22   the – the Quick Start guides just to learn how they operated. I charged them up. Put
                                     23   water in them. Pulled some air through it. Did not have anything to vaporize in it.”
                                     24   (Dkt. #128-8, Ex. F, Meyst Dep. (7/20/21) at 32:23-33:7; see also id. at 31:13-
                                     25   32:24.) Everyone agrees that Myest conducted no experiments on the issue that
                                     26   matters: the presence of second container outlets.
                                     27         And Puffco does not bother to address the fact that Meyst’s testimony was
                                     28   rejected by a district court for lacking explanation in Junker v. Med. Components,
                                                                                  5
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 8 of 15 Page ID #:7403



                                      1   Inc., No. CV 13-4606, 2019 WL 109385, at *7 (E.D. Pa. Jan. 4, 2019). There,
                                      2   Meyst baldly concluded that Plaintiff’s invention had “a curved line representing a
                                      3   scallop.” Id. That court granted summary judgment over Meyst’s conclusory
                                      4   opinion. Id. at *8.
                                      5          The pattern should continue here—the Court should exclude Meyst’s
                                      6   opinions as conclusory.
                                      7          B.     Meyst’s Opinion Regarding “Second Container Outlets” Ignores
                                      8                 the Court’s Construction and Lacks a Sufficient Factual
                                                        Foundation.
                                      9
                                                 The Court ruled that “second container outlets” means “apertures or openings
                                     10
                                          through which gas leaves the container, and that are separate from the first
                                     11
                                          container inlet and may be separate from the body of the container.” (Dkt. #76,
                                     12
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                          Claim Construction Ruling at 8 (emphasis added).) At no point in his report did
                                     13
                                          Meyst directly opine that the Oura contains “second container outlets” as the Court
         (310) 928-7885




                                     14
                                          defined that term. Instead, Puffco points to paragraphs where Meyst discussed
                                     15
                                          “unique gas flow path” and in numerous places identifies what he thinks are
                                     16
                                          “second container outlets.” But, despite Puffco’s protests to the contrary, he
                                     17
                                          admitted that the gas had left the container before entering these alleged “outlets.”
                                     18
                                                 Puffco insists, “Mr. Meyst never admitted that the second container outlets in
                                     19
                                          the Oura device do not meet the Court’s claim construction.” (Dkt. #135, Puffco’s
                                     20
                                          Opp’n at 13:13-14.) While he did not use those words, he repeatedly admitted that
                                     21
                                          the gas had left the container before entering the disputed outlets—meaning the
                                     22
                                          disputed outlets could not possibly meet the Court’s claim construction. And,
                                     23
                                          contrary to Puffco’s argument, KandyPens did not “cherry pick[] an answer to one
                                     24
                                          of a host of questions . . . .” (Id. at 13:4-7.)
                                     25
                                                 Meyst made this concession repeatedly. At his deposition, Meyst tried to toe
                                     26
                                          the company line, testifying, “The gas is leaving the container through the outlet.”
                                     27
                                          (Dkt. 124-2, Ex. B, Meyst Dep. (7/20/21) at 86:2-7.) But he prefaced that answer by
                                     28
                                                                                    6
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                              Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 9 of 15 Page ID #:7404



                                      1   stating “there is no demarcation here [at the top of the container].” (Id.) When
                                      2   asked why the demarcation made a difference, he freely admitted, “Okay. [The gas]
                                      3   is outside the container.” (Id. at 86:8-12.) When counsel drew a box above the
                                      4   container near the alleged “second container outlets,” Meyst agreed the gas in the
                                      5   drawn box “has left the container.” (Dkt. #128-8, Ex. F, Meyst Dep. (7/20/21) at
                                      6   89:6-17.) Counsel asked Meyst again to explain this position in the following
                                      7   exchange:
                                      8            Q. That -- if we go back to 109, though, we agree that the box
                                      9            labeled one, that's totally out of the container; right?
                                     10            A. Box labeled one?
                                     11            Q. Yeah.
                                     12
8200 Wilshire Boulevard, Suite 222




                                                   A. It's sitting at the entrance to the
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13
                                                   container.
         (310) 928-7885




                                     14
                                                   Q. But it is totally out of the container; right?
                                     15
                                                   A. Yeah.
                                     16
                                     17   (Dkt. #124-2, Ex. B, Meyst Dep. (7/20/21) at 100:8-17 (emphasis added).)

                                     18         Under the Court’s claim construction, the term “second container outlets”

                                     19   requires that the outlets are “apertures or openings through which gas leaves the

                                     20   container . . . .” (Dkt. #76, Claim Construction Ruling at 8.) While the construction

                                     21   includes other clauses, the conjunctive “and” makes it clear that in order to meet the

                                     22   construction, the outlets must be the outlets “through which gas leaves the

                                     23   container.”

                                     24         As it does in several recent filings, Puffco highlights the final, permissive

                                     25   clause stating the outlet “may be separate from the body of the container.” Puffco

                                     26   insists that this permissive clause allows for outlets other than those “through which

                                     27   gas leaves the container.” It asks, “how can ‘second container outlets’ not be

                                     28   allowed to be above the top plane of the container when the construction
                                                                                   7
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 10 of 15 Page ID #:7405



                                      1   specifically allows the ‘second container outlets’ to be separate from the
                                      2   container?” (Dkt. #135, Puffco’s Opp’n at 15:11-18.)
                                      3         While Puffco clearly meant for its question to be rhetorical, it’s easily
                                      4   answered. First of all, there is nothing about “may be separate from the body of the
                                      5   container” that necessarily includes outlets “above the top plane of the container.”
                                      6   Second, KandyPens has already presented embodiments that incorporate all clauses
                                      7   of the construction. As KandyPens’ Claim Construction Brief explained,
                                      8   “KandyPens’ construction encompasses apertures not defined by the container
                                      9   walls (wholly or in part), but the apertures must be in a surface (or surfaces) that
                                     10   define the void of the container itself. (Dkt. #69 at 8:2-6 (emphasis added).) It
                                     11   further explained, “Here, the important concept is that the ‘outlets’ actually be
                                     12   outlets of the void defined by the container.” (Id. at 9:18-19.) KandyPens included
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13   numerous drawings providing examples of configurations that would meet this
         (310) 928-7885




                                     14   construction. (Id. at 8-9.)
                                     15         Based on this explanation, KandyPens proposed almost the exact
                                     16   construction that the Court ultimately accepted: “[T]he Court may wish to modify
                                     17   KandyPens’ and Puffco’s proposals to clarify that the ‘second container
                                     18   outlets’/’second container gas outlets’ are ‘one or more apertures through which gas
                                     19   exits the container, that are separate from the first container inlet.’” (Id. at 9:18-24
                                     20   (emphasis in original).)
                                     21         In other words, KandyPens previously answered Puffco’s rhetorical question
                                     22   and the Court used that answer, in part, to form the construction of the term “second
                                     23   container outlets.” Meyst’s decision to avoid this construction renders his opinion
                                     24   unreliable and irrelevant—and the Court should exclude it.
                                     25
                                     26
                                     27
                                     28
                                                                                  8
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 11 of 15 Page ID #:7406



                                      1         C.     Meyst Improperly Compares the Oura to the Peak and the
                                                       Specification Rather than the Claims.
                                      2
                                                In its Opposition, Puffco argues that Meyst compared the Oura to the ‘344
                                      3
                                          Patent and insists, “It is true that Mr. Meyst also compared the accused Oura device
                                      4
                                          to the Peak device, but there is nothing wrong with doing that in addition to the
                                      5
                                          more expansive and detailed comparison of the Oura to the ‘334 Patent.” (Dkt.
                                      6
                                          #135, Puffco’s Opp’n at 8:6-8 (emphasis added).) The law says otherwise. “Case
                                      7
                                          law specifically prohibits infringement determinations on the basis of comparing
                                      8
                                          the accused product to a patentee’s commercial embodiment of the claimed
                                      9
                                          invention.” EcoServices, LLC v. Certified Aviation Servs., LLC, 312 F. Supp. 3d
                                     10
                                          830, 839 n.7 (C.D. Cal. 2018). And Puffco failed to distinguish any of the case law
                                     11
                                          KandyPens cited in its Motion demonstrating that point.
                                     12
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                                The Meyst Report and Meyst’s testimony at his deposition make it clear that
                                     13
                                          he extensively relied on a comparison of the Oura to the Peak, and the Oura to the
         (310) 928-7885




                                     14
                                          specification. Indeed, the central thrust of Puffco’s and Meyst’s infringement
                                     15
                                          argument is: (1) the Oura is a copy of the Peak, which practices the invention; (2)
                                     16
                                          the Oura’s atomizer is similar to a figure in the specification; therefore (3) the Oura
                                     17
                                          infringes the ’334 Patent. As noted in prior briefing, this analysis has been roundly
                                     18
                                          rejected by the Federal Circuit as reversible error. It is beyond unreliable, it’s
                                     19
                                          unhelpful because it contradicts controlling law. This central part of his analysis
                                     20
                                          cannot be excised from his conclusions, and he should not be allowed to pretend
                                     21
                                          like he only conducted an appropriate comparison of the Oura to the patent claims.
                                     22
                                          Accordingly, like in EcoServices, the Court should exclude the expert’s opinion on
                                     23
                                          the ground that the expert’s reliance on the commercial embodiment was unreliable
                                     24
                                          and misleading to a jury. Id. at 839.
                                     25
                                                D.     Meyst Invades the Province of the Jury.
                                     26
                                                Meyst opines on numerous factual issues. Without any case law in support,
                                     27
                                          Puffco declares, “The jury will see this evidence and can make their own judgment,
                                     28
                                                                                  9
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 12 of 15 Page ID #:7407



                                      1   but there is nothing wrong with Mr. Meyst expressing his opinion based on these
                                      2   uncontested facts and discovery emails.” (Dkt. #135, Puffco’s Opp’n at 18:11-13.)
                                      3   The problem is not that Meyst is basing opinions on facts—it is that he is opining
                                      4   on the facts themselves. On the alleged copying, he testified regarding his thoughts
                                      5   on what the evidence meant and opined: “Well, one example would be when I have
                                      6   the two atomizers in my hand, unless I look at the details, they are almost
                                      7   identical.” (Dkt. #124-2, Ex. B, Meyst Dep. (7/20/21) at 116:8-15.) Regarding
                                      8   second container outlets, Meyst testified that because Gibson called openings
                                      9   “slits,” it somehow means his opinion on “second container outlets” is correct. (See
                                     10   id. at 92:2-96:11.) And at the conclusion of his deposition, Meyst conceded that the
                                     11   jury did not need his expert opinion to make its determination regarding the second
                                     12   container outlets. (Id. at 122:12-123:5.)
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13         In so testifying, Meyst clarified that he is not basing his opinions on facts, he
         (310) 928-7885




                                     14   is opining regarding the meaning of the facts. “The court, in its role as gatekeeper,
                                     15   must exclude expert testimony . . . which invades the province of the jury to find
                                     16   facts and that of the court to make ultimate legal conclusions.” Sundance, Inc. v.
                                     17   DeMonte Fabricating Ltd., 550 F.3d 1356, 1364 (Fed. Cir. 2008). The Court should
                                     18   exclude Meyst’s opinions that invade the province of the jury.
                                     19         E.     Meyst’s Opinions Regarding a POSITA Are Unreliable.
                                     20         Puffco’s Opposition makes it clear that Meyst’s opinion on a POSITA are
                                     21   baseless, arguing: “Mr. Meyst’s opinion regarding the POSITA is standard for a
                                     22   patent case involving mechanical technologies . . . .” (Dkt. #135 at 19:5-8.) Meyst’s
                                     23   testimony certainly made it clear he had given the issue no thought. He admitted:
                                     24   “Well, my knowledge is limited, but I understand that the gentleman at Puffco,
                                     25   which is who I have at least been aware of, he was -- had a design or bachelor’s
                                     26   degree, I believe, in industrial design and has been working in the field for a
                                     27   number of years.” (Dkt. #124-2, Ex. B, Meyst Dep. (7/20/21) at 40:3-16.) As
                                     28
                                                                                  10
                                                KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 13 of 15 Page ID #:7408



                                      1   Puffco concedes, Meyst could not remember the man’s name. (Id.) He did not know
                                      2   the experience level of either Bajpai (the man in question) or the education level of
                                      3   Puffco’s founder Roger Voldarsky. (Id. at 54:1-12; 43:23-44:21.)
                                      4         Puffco does not address any of these deficiencies. Instead, Puffco deflects,
                                      5   arguing:
                                      6              In fact, Kandypens challenges this definition of a POSITA for
                                      7              one reason – because the only technical expert offered by
                                                     Kandypens on invalidity (Graham Gibson) admitted he lacks an
                                      8              engineering degree or any experience designing atomizers for
                                      9              vaporizers and, therefore, he is not a POSITA and is unable to
                                                     offer any reliable opinions on invalidity.
                                     10
                                          (Dkt. #135, Puffco’s Opp’n at 19:13-17.)
                                     11
                                                The issue is the exact opposite—Meyst’s opinions (expressed in a report co-
                                     12
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                          written with counsel) are specifically designed to exclude Gibson. Meyst testified
                                     13
                                          that Puffco’s founder Roger Volodarsky “has knowledge above and beyond an
         (310) 928-7885




                                     14
                                          ordinary skill” and that “[i]nventors have something more than persons of ordinary
                                     15
                                          skill . . . .” (Dkt. #124-2, Ex. B, Meyst Dep. (7/20/21) at 43:20-44:24.) Yet,
                                     16
                                          Voldarsky’s own education is minimal. When asked to explain his own education
                                     17
                                          beyond high school, he answered, “Honestly, it’s a little bit shaky. The memories
                                     18
                                          there are shaky. I did go to college at some point. I don’t know if it was
                                     19
                                          immediately after or if I waited. Yeah, I don’t remember exactly.” (Dkt. #128-2,
                                     20
                                          Ex. A, May 12, 2021 Volodarksy Dep. at 9:20-10:1.) In other words, Voldarsky has
                                     21
                                          less education in the pertinent art than Gibson—yet Meyst still declared him
                                     22
                                          someone with “knowledge above and beyond an ordinary skill.” (Dkt. #124-2, Ex.
                                     23
                                          B, Meyst Dep. (7/20/21) at 44:17-21.) In other briefing, Puffco has suggested that
                                     24
                                          the Court should ignore this testimony because Meyst was just offering unfounded
                                     25
                                          speculation (e.g., Dkt. #139-6 at 9-10), which seems to be nothing less than a
                                     26
                                          concession that Meyst will offer unreliable testimony on any topic he feels like, and
                                     27
                                          it’s up to the Court to catch him. Put differently, Puffco agrees that just because
                                     28
                                                                                 11
                                               KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 14 of 15 Page ID #:7409



                                      1   Meyst says something, that doesn’t mean he actually knows what he’s talking
                                      2   about.
                                      3            Similarly, Puffco ignores the fact that Meyst could not explain why he
                                      4   provided a different definition of a POSITA in this case than he had as an expert for
                                      5   an e-cigarette case several years prior: “Well, I think it’s an opinion that you
                                      6   develop and it may change over time. It’s not an absolute, so this is an
                                      7   approximation of what would be required and very -- very well the same person
                                      8   could look at the same information and come up with a different result.” (Id. at
                                      9   61:6-15.) In fact, on the differences in his opinion, he conceded, “I hadn’t thought
                                     10   about it.” (Id. at 62:20-63:6.)
                                     11            At bottom, it becomes clear that Meyst has not conducted any analysis of
                                     12   POSITA. He has simply set an arbitrary standard to exclude Gibson from his
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13   definition. Daubert prevents such game-playing and the opinion should be
         (310) 928-7885




                                     14   excluded.
                                     15   III.     CONCLUSION
                                     16            Puffco points to Meyst’s qualifications and the length of his Report. But
                                     17   those factors simply do not excuse the fact that on his infringement opinions, Meyst
                                     18   relies on his own say so. He relied on inferences and assumptions he made—
                                     19   conclusions only a jury could reach. And he relied on limited information to the
                                     20   exclusion of information he deemed inconvenient.
                                     21            The Court should exclude Meyst’s opinions regarding second container
                                     22   outlets, direct copying, and POSITA.
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                                   12
                                                 KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
                           Case 2:20-cv-00358-GW-KS Document 144 Filed 09/23/21 Page 15 of 15 Page ID #:7410



                                      1   DATED this 23rd day of September 2021,

                                      2
                                                                        KERCSMAR FELTUS & COLLINS PLLC
                                      3
                                      4                                 By: s/ Sean J. O’Hara
                                      5                                     Sean J. O’Hara
                                                                            7150 East Camelback, Suite 285
                                      6                                     Phoenix, Arizona 85251
                                      7
                                                                             Eric B. Hull
                                      8                                      100 Wilshire Boulevard, Seventh Floor
                                      9                                      Santa Monica, California 90401

                                     10
                                     11
                                     12
8200 Wilshire Boulevard, Suite 222
 Kercsmar Feltus & Collins PLLC

  Beverly Hills, California 90401




                                     13
         (310) 928-7885




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                            13
                                          KANDYPENS’ REPLY IN SUPPORT OF ITS MOTION AND MOTION TO EXCLUDE MEYST OPINIONS
